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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN (Grand Rapids) _

 

In re: Chapter 13 No. DL -18-01839-swd
Alisa Byrnes
Debtor. Hon. Scott W. Dales

 

MOTION FOR RELIEF FROM THE AUTOMATIC STAY AN]) ENTRY OF
ORDER WAIVING THE PROVISION OF FRBP 4001§A)§3|

NOW COl\/I]ES Ditech Financial LLC, by and through its attorneys, Trott LaW, P.C.,

and shows unto this Honorable Court as folloWs:

1. That Movant is a holder of a mortgage on property owned by the Debtor(s) and
located at 2202 Lagoon Drive, Okemos, MI 48864 (see attached copy of loan
document(s));

2. That the Debtor(S) filed Chapter 13 Banl<ruptcy on April 23, 2018;

3. That an order confirming plan has not yet been entered;

4. That pursuant to 11 U.S.C. § 362(d)(1), upon the request of any party in interest,
the court shall grant relief from stay for cause, including lack of adequate protection of
such party in interest Cause may also include failure of the debtor to comply With
obligations under 11 U.S.C. § 521(a)(2);

5. That pursuant to the terms of the Chapter 13 Plan as proposed, the Debtors are
required to remit monthly payments of $2,009.03 to the Chapter 13 Trustee;

6. That according to a report obtained from the Chapter 13 Trustee's Office, the
Debtor(s) has failed to remit the required payments;

7. That the Debtor(s) has failed to comply With the terms of the Chapter 13 Pla_n as
proposed;

8. That the approximate market value of the subject property is $187,000.00

pursuant to Schedules A and D;

 

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9. Trott Law, P.C. has been informed by Movant that the amount due and owing as

of` August 14, 2018, is approximately $131,516.97;

10. Creditor is also entitled to Creditor’s Attorney fees and costs for filing
this motion;

11. That Tacoma Hills Homeowners Land Company, Inc., Republic Bank , Charter
Township of` Meridian Treasurer and Ingham County Treasurer may have an interest in the
subject property to the knowledge and belief of Movant;

12. That no other creditor will receive any benefit from the sale of the subject
PFOP€TW;

13. Movant requests termination of the automatic stay of 11 U.S.C. § 362(a) to
allow Movant (and any successors or assigns) to proceed under applicable non-bankruptcy
law to enforce its remedies to foreclose upon and/or obtain possession of the property.

14. That in the event the automatic stay is terminated to allow Creditor to
commence or continue its federal and/or state law rights as to the property, and Creditor
deems the property is physically abandoned by the debtor(s)/homeowner(s), or by consent
of the debtor(s)/homeowner(s), Creditor may also seek to shorten the Michigan post
foreclosure statutory redemption period. A Chapter 7 Trnstee may have the same rights
and defenses as the Debtor(s) should Creditor seek to shorten the redemption period.

15. The Movant and/or its successors and assigns ii.u‘ther seeks relief in order to, at
its option, offer, provide and enter into any potential forbearance agreement, loan
modification, refmance agreement, deed in lieu of foreclosure/short sale, or other loss
mitigation solution. The Movant may contact the Debtor via telephone or written
correspondence to offer such an agreement Any such agreement shall be non-recourse
unless included in a reaffirmation agreement

16. The Documentation provided is in support of the right to seek a lift of stay and

foreclose if necessary.

 

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17. That pursuant to Local Bankruptcy Rule 9013(0)(1)(B), attached is a copy of the

proposed ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND
WAIVING THE PROVISION OF FRBP 4001(a)(3) labeled as Exhibit "l";
WHEREFORE, Movant respectfully requests that the Court enter an ORDER
GRANTING RELIEF FROM TI-IE AUTOMATIC STAY AND WAIVING THE
PROVISION OF FRBP 4001(a)(3) for good cause shown pursuant to 11 U.S.C. §362(d)(1)
and/or (d)(Z), and that the Order is effective immediately upon entry by this Court
notwithstanding the provision of FRBP 4001(a)(3); and whatever other relief the Court

deems just and equitable

Respectfully Submitted,
Trott Law, P.C.

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Attorney for Ditech Financial LLC
31440 Northwestern Hwy Ste. 145
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248.642.2515

Email: WesternECF@trottlaw.com

Dated: August 14, 2018

Trott #119359B12

 

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EXHIBIT 1

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN (Grand Rapids)

 

In re: Chapter 13 No. DL -18-01839-swd
Alisa Byrnes
Debtor. Hon. Scott W. Dales
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ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND WAIVING
THE PROVISION OF FRBP 4001§a)§3[

Ditech Financial LLC, by and through its attorneys, Trott Law, P.C., having filed a
Motion For Relief From The Automatic Stay With respect to the property located at 2202
Lagoon Drive, Okemos, MI 48864; and the approirimate market value of the property is
$187,000.00 pursuant to Schedules A and D; and the current debt owing is approximately
$131,516.97, and Creditor may recover Attomey fees and costs for filing this Motion; and
any surplus on the sale of this property shall be distributed pursuant to applicable state law
and procedures; and any deficiency on the sale of this property shall be treated as an
unsecured debt; and the Court being in receipt of the Motion, and the Court being fully
advised in the premises:

IT IS HEREBY ORDERED that the Automatic Stay is hereby terminated as to
Movant with respect to the property located at 2202 Lagoon Drive, Okemos, MI 48864 to
allow Creditor to commence or continue its federal and/or state law rights to the property.
In the event Creditor deems the property is physically abandoned by the
debtor(s)/homeowner(s), or by consent of the debtor(s)/homeowner(s), Creditor may also
seek to shorten the Michigan post foreclosure statutory redemption period. A Chapter 7
Trustee may have the same rights and defenses as Debtor(s) should Creditor seek to shorten
the redemption period. Movant and/or its successors and assigns may, at its option, offer,
provide and enter into a potential forbearance agreement, loan modification, refinance
agreement, deed in lieu of foreclosure/short sale or other loss mitigation solution. The

Movant may contact the Debtor via telephone or Written correspondence to offer such an

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agreement Any such agreement shall be non-recourse unless included in a reaffirmation

agreement This Order is effective immediately upon entry by this Court notwithstanding
the provision of FRBP 4001(a)(3). This Order shall be binding and effective despite any
conversion of this bankruptcy case to a case under any other chapter of Title 11 of the
United States Bankruptcy Code.

EN]] OF ORDER

